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         MEMO ENDORSED                                                                               Neil S. Binder
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                                                                                                           212.530.1809
                                                                                                           917.344.8809
                                                                                                 nbinder@rkollp.com

              January 7,2011

              By Fax

              Honorable P. Kevin Castel 

              United States District Judge 

              Daniel Patrick Moynihan United States Courthouse 

              500 Pearl Street 

              New York, New York 10007-1312 


                       Suzanne Cruise Creative Services, Inc., et at v. Barrington Studios LTD, et al.,
                                                   10 Civ. 4293 (PKC)

              Dear Judge Castel:

              We represent defendant Dollar General Corporation ("Dollar General") in the above­
              referenced action and write to request a 30-day extension of time to February 9, 2011 for
              Dollar General to answer or otherwise respond to the complaint. Dollar General's
              response is currently due January 10,2011.

              This is Dollar General's first request for an extension of time, and plaintiff has consented
              to this request. The reason for this request is that we were retained only today and
              require time to investigate the allegations in the complaint and prepare a response.

              Thank you for your consideration.




              cc: Tedd S. Levine, Esq. (via fax and email)
                  Kristina M. Mentone, Esq. (via fax and email)




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